            Case 2:17-mj-00574-GWF             Document 42        Filed 08/15/17       Page 1 of 1



 1
 2
 3
 4                                  UNITED STATES DISTRICT COURT
 5                                          DISTRICT OF NEVADA
 6
 7   UNITED STATES OF AMERICA,                 )
                                               )
 8                     Plaintiff,              )                    Case No. 2:17-mj-574-GWF
                                               )
 9   vs.                                       )                    ORDER
                                               )
10   DONELL TALLEY,                            )
                                               )
11                     Defendant.              )
     __________________________________________)
12
13          This matter is before the Court on the Government’s Motion to Strike (ECF No. 31), filed on
14   June 13, 2017. Defendant filed his Response (ECF No. 34) on June 27, 2017. The Government filed
15   its Reply (ECF No. 35) on July 5, 2017.
16          The Government requests that the Court strike Defendant’s Notice of Assertion of Right to be
17   Present in Court Unshackled (ECF No. 14) as improperly filed. The Court construes Defendant’s
18   filing as a notice of an assertion of his right to not be shackled or placed in other physical restraints
19   during any pretrial hearing. On July 13, 2017, the Court granted the parties’ stipulation to continue
20   the preliminary hearing to June 28, 2017. ECF No. 40. If the preliminary hearing goes forward the
21   Court will consider the issue of physical restraints at that time. The Court, therefore, denies the
22   Government’s motion to strike as premature. Accordingly,
23          IT IS HEREBY ORDERED that the Government’s Motion to Strike (ECF No. 31) is
24   denied.
25          DATED this 14th day of August, 2017.
26
27                                                  ______________________________________
                                                    GEORGE FOLEY, JR.
28                                                  United States Magistrate Judge
